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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


UNITED STATES OF AMERICA,
                                                  :
                       Plaintiff-Appellee,
                                                  :
                vs.                                   Case No. 3:l6-CR-97

KORTNEE WIDUP,                                    :   Judge Thomas M. Rose
                                                  :
                       Defendant-Appellant.



            ENTRY SETTING BRIEFING SCHEDULE ON MERITS OF APPEAL


       The Defendant has filed a timely Notice of Appeal from her conviction by a duly

empaneled jury and sentence by the United States Magistrate Judge. It is the order of this Court

that the Defendant file her Brief in Support of her appeal, not later than 30 days from date (or not

later than 30 days following the filing of a transcript of the proceedings below, a transcript which

it is the Defendant-Appellant’s responsibility to order and cause to be filed), followed not later

than 30 days thereafter by the Appellee’s Brief. The Defendant-Appellant will then have 15 days

following date of receipt of the Government’s submission, to file whatever reply memorandum is

deemed necessary.



                                        s/ Thomas M. Rose
 July 6, 2017                                           Thomas M. Rose, Judge
                                                       United States District Court
